FILED - GR
y Seen ees : ---- September 19, 2022 1:17 PM

CLERK OF COURT
-- UNITED STATES DISTRICT COURT - in Grd LS U.S. DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN WESTERN DISTRICT OF. YICHIGAN
BY uMW SCANNED BY: _[44/ “I 20

1:22-cv-865
Sally J. Berens
U.S. Magistrate Judge

(Enter above the full names of all plaintiffs, including prisoner number, in this action.)

"Op kina Stapopy F+.AL

(Enter above the full name of the defendant or defendants in this action.)

COMPLAINT.

Te Previous Lawsuits Ver Nad

CAUTION: The Prison Litigation Reform Act has resulted in substantial changes in the ability of incarcerated

individuals.to initiate lawsuits in_this and _other federal courts without prepayment of the civil action filing fee.
Accurate and complete responses are required concerning your litigation history. Generally, a plaintiff’s failure
to accurately and completely answer the questions set forth below will result in denial of the privilege of
proceeding in forma pauperis and require you to pay the entire $400.00 filing fee regardless of whether your

complaint is dismissed.

A. . Have you ever fileda lawsuit while incarcerated or detained in any prison or jail facility? Yes 0 No ae

B. Tf-your answer to question A-was yes, for each lawsuit you have filed you must answer questions 1 through 5 below.
‘Attach additional sheets as necessary to answer questions 1 through 5 below with regard to each lawsuit

1, Identify the court in which the lawsuit was filed. [fit was a state court, identify the county in which the suit was
filed. Ifthe lawsuit was filed in federal court, identify the district within which the lawsuit was filed.

1

2. Is the action still pending? : “YesO NoO . ot a te’ aA

a. lfyour answer was no, state precisely how the action was resolved:

3. Did you appeal the decision? YesO Nod
4. Is the appeal still pending? YesO Noo

a. Ifnot pending, what was the decision on appeal?

"5, ‘Was the previous lawsuit based upon the same or similar facts asserted in this lawsuit? YesO NoO

Tf so, explain:

IL. Place of Present Confinement Emest Ce Ryeoks Cctectlare | Factllt sg

Tf the place of present confinement is not the place you were confined when the occurrence that is subject of instant lawsuit
arose, also list the place you were confined:

Loala Kell say Creek Coccectleral faelliy

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UL Parties - -- : 2 ae

"A. Plaintifi(s)
Place your name in the first blank and your present address in th e second blank. Provide the sam e information for'any additional
plaintiffs. Attach extra sheets as necessary. :

Name of Plaintiff Katale, \\ Ube :
Address Een’ C,PtadkS © otc. Laclhy A500 5. Shecdan WM. Muskeeen WM, 4 P44

B. Defendant(s)

Complete the information requested below for each defendant in this action, including whether you are suing each defendant inan
official and/or personal capacity. Ifthere are more than four defendants, provide the same information for each additional defendant.
Attach extra sheets as necessary.

Name of Defendant #1 Uolkaawa ah wae
________ position or Title___CoeC Wry eo An

Place of Employment Ton bell Ao ete bone baci bey
Address 137. blue tale Huy Tonia Mm
Official and/or personal capacity? Do bh |

Name of Defendant #2 onl MOA Welgon

“position or Title Cocre thyads ondcer ee : Ne
Place of Employment Loyypo Deion Concltaae| Facile!
patos | 727 Ws Due wher Hwy Doane Yo

Official and/or personal capacity? Doty

Name of Defendant #3 [ yan ys Youn Doe th \

Position or Title Contec nD OK een
Place of Employment 1 poi DellAcne Corer dona Cocitile j
hates. (RL Ww Blue woke? Bay Sone fai |
Official and/or personal capacity? ‘bo

Name ofDefendant#4 | Wawa tun: Poe #4.

Position or Title Coc(ehorh Ofte
Place of Employment_|]2-] \y Vue Wale a Toate M1 G
Address “Loa. Deli io Correctional feo bly g
Official and/or personal capacity? : 'D on

Name of Defendant #5 Uaknwan Sagn poe ve

Position or Title CofCeon® Ore {Cee
Place of Employment. Space: Cellamy Coe clon al edi Neg
Address 17%] lap, Dlue. Taner thas, Donne WM, |
Official and/or personal capacity? hi 5

KRANTE HICKEY

DEFENDANT #6; UNKNOWN JOHN DOE #4

POSITION/TITLE; CORRECTIONAL OFFICER

PLACE OF EMPLOYMENT; IOQNIA BELLANY CREEK CORRECTIONAL
ADDRESS; 1727 BLUEWATER HUY IONIA MI

OFFICIAL AND/OR PERSONAL CAPACITY; BOTH

DEFENDANT #7; UNKNOWN FOX

POSITION/TITLE; CORRECTIONS SERGEANT

PLACE OF EMPLOYMENT; IONIA BELLANY CREEK CORRECTIONAL
ADDRESS; 1727 BLUEWATER HWY IONIA MI

OFFICIAL AND/OR PERSONAL CAPACITY; BOTH

DEFENDANT #8; CRAIG RITTER
POSITION/TITLE; P/C (SCC MEMBER)

PLACE OF EMPLOYMENT; IONIA BELLANY CREEK CORRECTIONAL
ADDRESS; 1727 BLUEWATER HUY IONIA MI

OFFICIAL AND/OR PERSONAL CAPACITY; BOTH

DEFENDANT #9; UNKNOWN NORMINGTON

POSITION/TITLE; RESIDENT UNIT MANAGER (SCC MEMBER)
PLACE OF EMPLOYMENT; IONIA BELLANY CREEK CORRECTIONAL
ADDRESS; 1727 ALUEWATER HWY IOGNIA MI

OFFICIAL AND/OR PERSONAL CAPACITY; ROTH

DEFENDANT #10; S JONES

POSITION/TITLE; ASSISTANT DEPUTY WARDEN (SCC MEMBER)
PLACE OF EMPLOYMENT; IONIA BELLANY CREEK CORRECTIONAL
ADDRESS; 1727 RLUEWATER HWY IONIA MI

OFFICIAL AND/OR PERSONAL CAPACITY; BOTH

** Each delenrtant knew or shoulc have knoun that
violatinils the law

FACILITY

FACILITY

FACILITY

FACILITY

FACILITY

they were
KIANTE HICKEY

EXHAUSTION

Plaintiff Hickey used the grievance procedure at IRC to attempt
to resolve these issues of arbitration by the government
officials who all acted under color of state law to no avail

LEGAL CLAIMS

Plaintiff Hickey re allege and incorporate paragraphs 1 thur 4

CLAIM 1 Violation of US Constitution Amendment 8 On 8418620
Defendant Stump Ramirez and John Doe s #1 thur #4 slammed
plaintiff on the ground while handcuffed behind his back so hard
that he started to lose consciousness then Ramirez and John
Doe s #1 thur 4 stripped plaintiff naked and held him down while
defendant Supervisor Stump yanked on plaintiffs penis and scrotum
and then after having the other defendants flip the plaintiff
over Stump proceeded to force his fingers in the plaintiffs
rectum further causing pain and suffering in violation of the 8th
Amendment to the United States Constitution (excessive use of
force infliction of pain and suffering) Cruel and Unusual
Punishment

CLAIM 2 Violation of US Constitution Amendment 1 Defendant
Stump Nelson Fox Ritter Norminaton and dones all retaliated
against plaintiff Hickey in response to his protected conduct
against supervisor Stumps and other agents who assisted Stump in
their excessive force against plaintiff in violation of the First
Amendment to the United States Constitution (Retaliation to
Protected Conduct)

CLAIM 3 Violation of U S Constitution Amendment & On 6|13| 21
Plaintiff was assaulted by another inmate after defendant Stump
ordered members of a aana to assault plaintiff who refused to
KRANTE HICKEY

and demanded him to stop He stated I can do whatever I want
to you here boy Then he threatened to hurt me really bad if I
didnt sian off my Prea Grievance against him Stating This is
your last warning I contacted my family who once again notified
the warden about this incident I refused to sign off

5 On 6|13]21 I was stabbed by another inmate While being
placed in segregation the inmate stated I didn t want to stab you
but that it was either you or me as I was given the order from
‘the leader of my aang IT asked why because I had no problems
with his gang and he stated Saqt Stump requested the hit on you
and threatened to put us the whole crew on STG Status if we

didn t get you removed from General Population I grieved this
incident and my family notified the warden concerning this
incident

6 On |21 Sgt Stump entered my cell while I was in the

shower and dumped all my pictures papers and legal cocuments
into the toilet and trashed my cell

7 On | |24 when I complained to Sat Fox he falsified my
response on grievance #2112792|281, forged my signature when I
NEVER signed off on unresolved grievance issues

® On 12|16|21 during breakfast rounds Officer Nelson gave me a
food tray that was missing a big portion of the food on the menu
that day When I asked for the proper portion Officer Nelson
stated You re not getting shit write a grievance like you did
on Sgt Stump

9 On 12/16/21 at lunch rounds Officer Nelson pretended he was
placing a food tray in my cell through the food slot and when I
reached for the tray he yanked it back stating Sgt Stump sends
his regards no food for vou

10 Later that cay Stump made a round in segregation stopped at
v
KAANTE KICKEY

my cell and stated Ummm Food Loaf I told you I am untouchable
here at IRC and arievances do nothing I wipe my ass with them
and i can have you hurt (touched) anytime I want

11. Officer Nelson wrote me a false misconduct requesting 7 days
food loaf for writing a grievance on Sgt Stumps assault and
sexual harrassment when I never received the food tray in order
to misuse it

12 On 6|13]21 I was place in temp seq pending transfer to
another facility due to being stabbed by an inmate who stated he
was forced to do it by Sgt Stump Temp Seq cells are used for
prisoners on cetention pending a major court violation hearing

I was held in the detention cell under the guise that I was

pending transfer for 11 months When I complained to the
Security Classification Committee (SCC) I was told sarcastically
to [write a aqrievance and you ll be in here longer]. 400

transfers were processed in the 11 months I was held in this
detention cell subject to the same punishments restrictions and
denial of privileges as those on detention sanctions
KIANTE HICKEY

sign off on grievances on Stump and other officers who used
excessive force against the plaintiff in violation of the Eighth
Amendment (excessive force infliction of unnecessary pain and
suffering) Cruel and Unusual Punishment to the United States
Constitution

CLAIM 4 Violation of US Constitution Amendment 1 and 8&8 On
6|13|21 plaintiff was classified to temporary segregation for
protection purposes and. held in a punitive cell and kept subject
to punitive confinement for 11 months in segregation cue to his
protected conduct to the Security Classification Committee (SCC)
in violation of the First Amendment Retaliation to the United
States Constitution and unlawful excessive confinement| detention
in violation of the Eighth Amendment to the United States
Constitution

PRAYER OF RELIEF

Plaintif? asks this Honorable Court to Order a Declaratory
Jucament that the acts and omissions of these defendants violated
plaintiffs State and Federal Laws in violation of the United
States Constitution

COMPENSATORY DAMAGES in the amount of 1,900 000 [One Million
Dollars] lump sum against Defendants Stump Ramirez and the other
four (4) John Doe Officers who used excessive force and sexually
assau!/ted plaintiff

COMPENSATORY DAMAGES in the amount of $29)000 thousand each
against Defendants Stump Nelson Fox Ritter Norminaton and
Jones for their retaliation in response to plaintiffs protectec

conduct
KIANTE HICKEY

PUNITIVE DAMAGES in the amount of $100 000 [One Hundred Thousand
Dollars] against each defendant who wsed excessive force against
plaintiff

PUNITIVE DAMAGES in the amount of $59,009 thousand against each
defendant for their retaliation to plaintiff grievances
[protected conduct] against prison staff in this complaint
IV. Relief Conbrnweo
State briefly and precisely what you want the court to do for you.
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Jou THA Demanded
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V. Notice to Plaintiff Regarding Consent werd Ary

In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73, you are
hereby notified that the United States magistrate judges of this district court may, upon your consent, conduct
any or all proceedings in this case, including a jury trial and entry of a final judgment. If you consent, any
appeal from a judgment entered by a magistrate judge shall be taken directly to the United States Court of
Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a district court.

Magistrate judges have greater flexibility in their schedules than district judges, who have heavy criminal
caseloads that take priority over civil trials. Accordingly, the magistrate judges are generally able to schedule
prisoner civil rights cases for jury trial much sooner, and they are able to provide firm trial dates. Magistrate
judges are experienced trial judges who handle a great number of prisoner civil rights cases.

Your decision to consent to the dispositive jurisdiction of a United States magistrate is entirely voluntary. If
you do not consent to a magistrate judge, the case will be randomly assigned to a district judge. The
magistrate judge already assigned to this case would continue to decide all pretrial matters and would handle
all dispositive motions by report and recommendation.

Please check ONE box below to indicate whether you voluntarily consent to proceed with a United States
magistrate judge or if you would instead prefer that the case be assigned to a district judge.

oO | hereby voluntarily consent to the United States magistrate judge conducting all proceedings in
this case, including entry of a final judgment and all post-judgment matters.

(1 | request that this case be assigned to a district judge.

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Date Signature of Plaintiff

NOTICE TO PLAINTIFF(S)

The failure of a pro se litigant to keep the court apprised of an address change may be considered cause

for disMiSR@le Treptow
Notary Public-State of Michigan
Muskegon € aunty
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State briefly and precisely what you want the court to do for you.
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